          Case 1:21-cv-00065-GLR Document 4 Filed 01/14/21 Page 1 of 2



            IN THE UNITED STATES DISTRICT COURT OF MARYLAND
                           [BALTIMORE COUNTY]

                                    )
RODNEY COSTER                       )
c/o Mayer Brown LLP                 )
1999 K Street, N.W.                 )
Washington, DC 20006                )
                                    )              Civil Action No. ___21-cv-65________
                  Plaintiff,        )
                                    )
                   v.               )
                                    )
THE STATE OF MARYLAND, ET AL.       )                                                   )
                                    )
                  Defendants.       )
____________________________________)

                                          NOTICE

In accordance with United States Federal District Court Local Rule 501, Plantiff Rodney Coster
provides notice of the county of residence of the parties to this action:

Rodney Coster, Plaintiff (Baltimore County)
Harford County, MD (Harford County)
Harford County Sheriff’s Office (Harford County)
Harford County Detention Center (Harford County)
Harford Sheriff Jeffrey Gahler (Harford County)
Warden Michael Capasso (Harford County)
DFC Donald Licato (Harford County)
DFC Christopher Majewski (Harford County)
DFC Mark Jeric (Harford County)
DFC Bliss (Harford County)
DFC Norton (Harford County)
DFC Robinson (Harford County)
DFC D. Seman (Harford County)
DFC Stavros Kalambihi (Harford County)
Sgt. Andrew Meador (Harford County)
Cpl. Goins (Harford County)
DFC Joe DiBartolo (Harford County)
Does 1 to 20 (Harford County)
             Case 1:21-cv-00065-GLR Document 4 Filed 01/14/21 Page 2 of 2



January 8, 2021                               Respectfully submitted,


                                              ___/s/_Luciene M. Parsley______________

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